                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )       NO. 3:13-00069
                                                )       JUDGE CAMPBELL
WILLIAM COFFEE, JR.                             )

                                         ORDER

      Pending before the Court is Defendant’s Motion to Reset Sentencing Hearing (Docket No.

128) currently scheduled for December 27, 2013. The Motion is GRANTED.

      The sentencing hearing is RESCHEDULED for January 15, 2014, at 1:00 p.m.

      It is so ORDERED.

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                                                TODD J. CAMPBELL
                                                UNITED STATES DISTRICT JUDGE




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